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11   Attorneys for Plaintiff
     Crum & Forster Indemnity Co.
12

13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15   Crum & Forster Indemnity Co.,                       Civil Action No. 3:20-cv-00127-LB

16                  Plaintiff,                           SECOND AMENDED COMPLAINT FOR:
                                                           1. Breach of Contract
17          v.                                             2. Breach of Contract
                                                           3. Negligence
1
18   Robb Report Media, LLC;                               4. Negligence
     Robb Douglas Rice;
19   Anatoly Borokhovich; and                            DEMAND FOR JURY TRIAL
     Emil Borokhovich,
20
                   Defendants.
21

22
     AND CROSS-CLAIM.
23

24

25                                             COMPLAINT

26          Plaintiff, Crum & Forster Indemnity Co. (“Crum & Forster”) a/s/o Ferrari North America,

27   Inc. (“Ferrari”), by and through its undersigned counsel, alleges the following against Defendants,

28


      Second Amended Complaint                                                                        1
      Case No. 3:20-cv-00127-LB
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 1   Robb Report Media, LLC (“Robb Report”), Robb Douglas Rice (“Rice”), Emil Borokhovich (“E.

 2   Borokhovich”) and Anatoly Borokhovich (“A. Borokhovich”) (collectively, “Defendants”):

 3                                                  PARTIES

 4          1.      Crum & Forster is a corporation domiciled in the State of New Jersey with a principal

 5   place of business at 305 Madison Avenue, Morristown, New Jersey.

 6          2.      Ferrari is a corporation domiciled in the State of New Jersey with a principal place of

 7   business at 250 Sylvan Avenue, Englewood Cliffs, New Jersey.

 8          3.      Crum & Forster issued an insurance policy to Ferrari insuring a 2018 Rosso Corsa,

 9   Nero, Ferrari 812 Superfast with Vin number 234331 (the “Vehicle”), pursuant to policy number

10   133742919 (the “Policy”).

11          4.      At all times material hereto, Crum & Forster was licensed to issue insurance policies

12   in the State of New Jersey.

13          5.      Upon information and belief, Robb Report is a limited liability company organized

14   pursuant to the laws of the State of California with a principal place of business at 11175 Santa

15   Monica Boulevard, Los Angeles, California.

16          6.      Upon information and belief, Rice is a citizen of the State of California with an

17   address of 712 Longfellow Avenue, Hermosa Beach, California.

1
18          7.      Upon information and belief, A. Borokhovich is a citizen of the State of California

19   with an address of 11664 El Cerro Lane, Studio City, California.

20          8.      Upon information and belief, E. Borokhovich is a citizen of the State of California
21   with an address of 5901 W. Olympic Blvd., Suite 103, Los Angeles, CA, 90036.
22                                      JURISDICTION AND VENUE

23          9.      This Court possesses original jurisdiction pursuant to 28 U.S.C. § 1332(a) because the

24   matter in controversy exceeds the sum of value of $75,000.00 exclusive of interest and costs, and the

25   matter in controversy is between citizens of different states.

26          10.     Venue is proper in the United States District Court of the Northern District of
27   California under 28 U.S.C. § 84(a) and 28 U.S.C. § 1391(b)(2), because it is the judicial district

28   where the injury occurred.


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 1                                      FACTUAL ALLEGATIONS

 2   THE VEHICLE AND AUTHORIZED OPERATORS

 3          11.     Ferrari is a manufacturer and distributor of fine Italian motor vehicles.

 4          12.     Ferrari also loans vehicles to individuals and entities for both short and long term use.

 5          13.     On or about October 19, 2018, Robb Report and Ferrari entered into an Agreement

 6   and Authorization to loan to Robb Report the Vehicle for use as part of its Car of the Year review.

 7          14.     Robb Report knew and understood that its receipt of the Vehicle was conditioned

 8   upon agreement to the Agreement and Authorization. By taking possession of the Vehicle Robb

 9   Report accepted and executed the terms and conditions of the Agreement and Authorization.

10          15.     The borrower of the Vehicle was identified in the Authorization as “Robb Report Car

11   of the Year.” See Exhibit A.

12          16.     Rice represented to Ferrari that he would be the authorized driver of the Vehicle and

13   provided his contact information and driver’s license to Ferrari’s records. See Exhibit A.

14          17.     Pursuant to Section 1 of the Agreement, “[Robb Report] agrees that it shall be

15   responsible for damage to the vehicle(s) borrowed under the Vehicle Loan Authorization Form

16   which is attached and incorporated by reference.”

17          18.     Pursuant to Section 3 of the Agreement, “[Robb Report] agrees that no one, other

1
18   than authorized drivers shall be permitted to operate the Vehicle, unless prior authorization is

19   obtained from [Ferrari].”

20          19.     Pursuant to Section 4 of the Agreement, “[Robb Report] agrees to return the Vehicle
21   in the same condition as received, except for normal wear and tear[.]”
22   THE ROBB REPORT CAR OF THE YEAR EVENT

23          20.     RR1 by Robb Report is a membership service that allows members to “enjoy truly

24   unique access to luxury through Robb Report’s exclusive Signature Events and experience with a

25   remarkable group of peers.” See RR1.com.

26          21.     One of the “Signature Events” hosted by RR1 is the Robb Report Car of the Year
27   experience.

28


      Second Amended Complaint                                                                              3
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 1          22.     In 2018, Robb Report hosted its Car of the Year experience at the Meadowood Resort

 2   in Napa, California (the “Event”).

 3          23.     The Event was conducted between October 28 and November 9, 2018.

 4          24.     The Event markets itself as an opportunity to put attendees in the driver’s seat, able to

 5   test-drive and evaluate up to thirteen luxury and performance vehicles that vie for the title of “Robb

 6   Report Car of the Year.”

 7   THE ACCIDENT

 8          25.     Ferrari delivered the Vehicle to Meadowood Resort, St. Helena, California on

 9   October 21, 2018, and the Vehicle was scheduled to be returned on about November 10, 2018.

10          26.     Robb Report and Rice represented to Ferrari that only authorized persons who were

11   jurors and journalists would be able to access the Vehicle.

12          27.     On Friday, November 2, 2018, A. Borokhovich and E. Borokhovich each executed an

13   agreement to take possession of and drive the Vehicle. See Exhibit B & Exhibit C.

14          28.     The agreements executed by A. Borokhovich and E. Borokhovich were executed on

15   an iPad or similar tablet and expressly incorporated the terms and conditions of the Agreement and

16   Authorization executed by Robb Report and Ferrari.

17          29.     Specifically, the agreements executed by A. Borokhovich and E. Borokhovich state

1
18   that “you are agreeing to all of the terms, conditions, and stipulations laid out in all of the following

19   forms.”

20          30.     The forms listed in the agreements executed by A. Borokhovich and E. Borokhovich
21   include “Ferrari Superfast Juror Vehicle Loan Agreement.”
22          31.     “Ferrari Superfast Juror Vehicle Loan Agreement” was a link to the Agreement and

23   Authorization, which A. Borokhovich and E. Borokhovich agreed to click and review prior to

24   executing their respective agreements with Robb Report to take possession of and drive any of the

25   vehicles Robb Report made available to test drive, including the Vehicle.

26          32.     On November 4, 2018, A. Borokovich and E. Borokovich took possession of the
27   Vehicle.

28


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 1          33.     On November 4, 2018, A. Borokovich as the driver and E. Borokovich as a passenger

 2   crashed the Vehicle on Meadowood Lane in an unincorporated part of Napa County in California.

 3          34.     Officer Kirk Paulson of the California Highway Patrol (“Officer Paulson”) responded

 4   to the accident scene and took statements from all witnesses including the driver and passenger of

 5   the Vehicle, which were memorialized in a formal accident report (the “Accident Report’). A true

 6   and correct copy of the Accident Report is attached hereto as Exhibit D.

 7          35.     According to Officer Paulson’s report, A. Borokhovich was operating the Vehicle at

 8   the time of the accident. See Exhibit D at 1.

 9          36.     A. Borokhovich stated to Officer Paulson that he lost control of the Vehicle while
10   attempting to avoid another vehicle that had crossed over the double yellow line on Meadowood
11   Lane and into his lane. See Exhibit D at 8.
12          37.     A. Borokhovich further stated that he was driving the speed limit when the accident

13   occurred, which is twenty-five (25) miles per hour.

14          38.     E. Borokhovich could not corroborate A. Borokhovich’s version of the accident.

15          39.     Officer Paulson also spoke with a witness, Victor Perez (“Perez”), who stated that he

16   was working the front gate at the Meadowood Resort when he observed the Vehicle exit the resort,

17   followed by the sound of rapid acceleration and a loud crash.

1
18          40.     Perez further stated to Officer Paulson that he then entered his vehicle and drove to

19   the crash scene.

20          41.     Perez reported that no other vehicles had driven past him between the time the
21   Vehicle left the resort and his arrival at the scene of the accident.
22          42.     Officer Paulson also conducted a physical examination of the Vehicle, the road, the

23   tree that the Vehicle crashed into, and other physical evidence such as tire marks and dirt marks

24   present at the scene of the accident.

25          43.     After review of the physical evidence and the statements made by the witnesses,

26   Officer Paulson concluded that A. Borokhovich was at fault for the accident and the accident was
27   caused because A. Borokhovich lost control of the Vehicle by executing an unsafe turn at speeds in

28   excess of twenty-five miles per hour.


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 1             44.    As a result of the unsafe operation of the Vehicle by A. Borokhovich, the Vehicle was

 2   determined to be a total loss following the accident, causing Ferrari to suffer damages.

 3             45.    After the accident, Ferrari made a claim under the Policy and Crum & Forster paid

 4   Ferrari $292,508.35 as compensation for its loss. A true and correct copy of the Proof of Loss and

 5   the Letter to Ferrari enclosing payment are attached hereto as Exhibits E and F, respectively.

 6                                       FIRST CLAIM FOR RELIEF

 7                                             Breach of Contract

 8                                         Against Robb Report LLC

 9             46.    Crum & Forster repeats and restates each of the foregoing paragraphs as if set forth at
10   length herein.
11             47.    The Agreement and Authorization constituted a contract between Ferrari and Robb

12   Report.

13             48.    The Agreement requires Robb Report Media, LLC to be responsible for damage to

14   the Vehicle, and to indemnify Ferrari North America, Inc. for all damages or losses arising from

15   Barrower’s use of the Vehicle.

16             49.    The Agreement requires Robb Report Media, LLC to return the Vehicle in the same

17   condition as received, except for normal wear and tear.

1
18             50.    Robb Report breached the Agreement and Authorization by failing to return the

19   Vehicle in the same condition as received and failing to pay for the amount of damages to the

20   Vehicle.
21             51.    As a result, Ferrari and Crum & Forster have suffered damages as a result of the

22   breach of the Agreement.

23             WHEREFORE, Crum & Forster demands a Jury Trial and judgment against Robb Report

24   for all actual, consequential, anticipatory, and statutory damages, as well as all attorneys’ fees/costs,

25   interest, and other relief this Court deems appropriate.

26                                      SECOND CLAIM FOR RELIEF
27                                             Breach of Contract

28                               Against A. Borokhovich and E. Borokhovich


      Second Amended Complaint                                                                              6
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 1          52.       Crum & Forster repeats and restates each of the foregoing paragraphs as if set forth at

 2   length herein.

 3          53.       A. Borokhovich and E. Borokhovich, as a condition to being able to participate and

 4   drive the Vehicle, executed agreements that expressly incorporated the Agreement and

 5   Authorization.

 6          54.       By virtue of executing their respective agreements, A. Borokhovich and E.

 7   Borokhovich agreed to be responsible for damage to the Vehicle and to indemnify Ferrari North

 8   America, Inc. for all damages or losses arising from their use of the Vehicle.

 9          55.       Further, A. Borokhovich and E. Borokhovich agreed to return the Vehicle in the same
10   condition as received, except for normal wear and tear.
11          56.       Due to the incorporation of the foregoing terms into the agreements executed by A.

12   Borokhovich and E. Borokhovhich, Ferrari North America, Inc. was a third party beneficiary of

13   those agreements.

14          57.       A. Borokhovich and E. Borokhovich breached the agreements they executed by

15   failing to return the Vehicle in the same condition as received and failing to pay for the amount of

16   damages to the Vehicle.

17          58.       As a result, Ferrari and Crum & Forster have suffered damages as a result of the

1
18   breach of the Agreement.

19          WHEREFORE, Crum & Forster demands a Jury Trial and judgment against A.

20   Borokhovich and E. Borokhovich for all actual, consequential, anticipatory, and statutory damages,
21   as well as all attorneys’ fees/costs, interest, and other relief this Court deems appropriate.
22                                       THIRD CLAIM FOR RELIEF

23                                                  Negligence

24                                    Against Robb Report LLC and Rice

25          59.       Crum & Forster repeats and restates each of the foregoing paragraphs as if set forth at

26   length herein.
27

28


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 1          60.       Robb Report and Rice owed a duty of care to Ferrari North America, Inc. to ensure

 2   that any individuals who took possession of or drove the Vehicle would return the vehicle in the

 3   same condition it was received.

 4          61.       Robb Report and Rice breached that duty of care by allowing A. Borokhovich and E.

 5   Borokhovich to take possession of and drive the Vehicle.

 6          62.       It was foreseeable that a breach of the duty of care would cause Ferrari North

 7   America, Inc. to suffer damages.

 8          63.       The damage to the Vehicle was caused directly and proximately by the intentional,

 9   reckless, careless, and/or negligent conduct of Robb Report and Rice.

10          64.       The intentional, reckless, careless, and/or negligent conduct includes failing to review

11   and monitor the use of the Vehicle, to safely operate the Vehicle, and to return the Vehicle in the

12   condition it was received.

13          WHEREFORE, Crum & Forster demands a Jury Trial and judgment against Robb Report,

14   and Rice, for all actual, consequential, anticipatory, and statutory damages, as well as all attorneys’

15   fees/costs, interest, and other relief this Court deems appropriate.

16                                      FOURTH CLAIM FOR RELIEF

17                                                  Negligence

1
18                                Against A. Borokhovich; and E. Borokhovich

19          65.       Crum & Forster repeats and restates each of the foregoing paragraphs as if set forth at

20   length herein.
21          66.       A. Borokhovich and E. Borokhovich owed a duty of care to Ferrari North America,

22   Inc. to operate the Vehicle in a safe manner and return the Vehicle in the condition it was received.

23          67.       A. Borokhovich and E. Borokhovich breached that duty of care by failing to operate

24   the Vehicle in a safe manner and failing to return the Vehicle in the condition it was received.

25          68.       It was foreseeable that a breach of the duty of care would cause Ferrari North

26   America, Inc. to suffer damages.
27          69.       The damage to the Vehicle was caused directly and proximately by the intentional,

28   reckless, careless, and/or negligent conduct of A. Borokhovich and/or E. Borokhovich.


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 1          70.      The intentional, reckless, careless, and/or negligent conduct include failing to safely

 2   operate the Vehicle, exceeding the speed limit, and failing to return the Vehicle in the condition it

 3   was received.

 4          WHEREFORE, Crum & Forster demands a Jury Trial and judgment against A.

 5   Borokhovich and E. Borokhovich for all actual, consequential, anticipatory, and statutory damages,

 6   as well as all attorneys’ fees/costs, interest, and other relief this Court deems appropriate.

 7

 8   Dated: June 9, 2020                                            Crum & Forster Indemnity Co. A/S/O
                                                                    Ferrari North America, Inc.
 9
                                                            By:     /s/ Joshua A. Zielinski
10                                                                  O’Toole Scrivo, LLC
                                                                    14 Village Park Road
11
                                                                    Cedar Grove, NJ 07009
12

13   Dated: June 9, 2020                                            LOSCH EHRLICH & MEYER

14                                                          By:     /s/ Joseph Ehrlich
                                                                    Joseph Ehrlich
15                                                                  Mark R. Meyer
                                                                    Attorneys for Crum & Forster
16                                                                  Indemnity Co.
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      Second Amended Complaint                                                                            9
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      Exhibit A
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                        FERRARI NORTH AMERICA, INC.
                         VEIDCLE LOAN AGREEMENT
The purpose of this Vehicle Loan Agreement is to set forth the terms and conditions upon
which Ferrari North America, Inc. will loan a vehicle for press or other approved usage.


   1. Borrower (as set forth below) shal1 be responsible for damage to the vehicle(s) borrowed
      under the Vehicle Loan Authorization Form ("Vehicle[s]") which is attached and
      incorporated by reference. Borrower shal1 also release, indemnifY and hold harmless
      Ferrari North America, Inc. ("FNA"), its parent, all subsidiaries and affiliates, from any
      and all claims, damages, loss or expenses attributable to property damage or bodily injury
      (including, but not limited to, sickness, injury and death) and property damage arising
      from or allegedly arising from Borrower's use of the Vehicle(s) unless, and to the extent,
      caused by the sole negligence of FNA. In addition, FNA requires that prior to loaning
      any vehicle, the Borrower(s) provide FNA with their driver's license information
      including state of issue and license number, and that Borrower, signing below, consents
      to FNA having its insurer conduct a license background check. FNA reserves the right to
      disallow vehicle operation by individuals who, in the sole judgment of FNA, or its
      insurer, possesses an adverse driving record as determined by researching applicable state
      motor vehicle record.

   2. Borrower agrees to maintain primary Automobile Liability insurance in the amount of at
      least One Million Dollars ($1,000,000) per occurrence, Bodily Injury and Property
      Damage on the loaned Vehicle(s). A Certificate of Insurance is attached evidencing such
      coverage, naming "Ferrari North America, Inc., its parent, all subsidiaries and affiliates",
      as Additional Insureds and stipulating that such coverage applies on a primary basis.

   3. Borrower agrees that no one, other than authorized drivers shall be permitted to operate
      the Vehicle(s), unless prior authorization is obtained from FNA. Any authorized driver
      must be a minimum of twenty-five (25) years of age and possess a valid driver's license.
      No driver shall operate the vehicle while under the influence of alcohol or drugs.

   4. Borrower is also responsible for any parking tickets and moving violations incurred
      during Vehicle use.

   5. Borrower agrees to return the Vehicle(s) in the same condition as received, except for
      normal wear and tear, and be responsible for maintenance of the Vehicle(s) (gas, oil, tire
      pressure, etc.)

   6. Borrower agrees to notifY FNA within (2) hours of any accident involving a vehicle.
      This includes verbal notification to FNA's Public Relations Department at (201) 816-
      2621 and submission of written accident information to that department within five (5)
      days of the accident.
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   7. Borrower agrees to require that all occupants of the Vehicle(s) wear seat belts at all times.



IN WITNESS WHEREOF, and intending to be legally bound hereby, FNA and Borrower have
each caused this Agreement to be executed and delivered by their proper and duly authorized
representatives as of this 191h day of October, 2018.



                                                    (SIGNATURE ON FILE)

("Borrower'')                                    Ferrari North America, Inc.
                                                 ("FNA")
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                       VEIDCLE LOAN AUTHORIZATION FORM


Ferrari North America, Inc.            ("FNA')

FNA's Contact Name:                    Krista Florin

Borrower's Company Name:               Robb Report Car of the Year

Borrower's Contact Name:               RobbRice
                                       712 Longfellow Ave.
                                       Hermosa Beach, CA 90254



The following individuals are authorized to operate the noted Vehicle(s) during the time
indicatedin and subject to the conditions outlines in the Vehicle Loan Agreement:

Authorized Driver(sl Name              Date of Birth                 Driver's License No.lState

Robb Douglas Rice                      7/14/1978                     F5688052




Borrowed Vehicle(s)

                                                                            V·
                                                                            ......!!!

2018       Ferrari            812 Superfast   Rosso Corsa, Nero             234331




Delivery Location:    Meadowood, St. Helena, CA                             Date: 10/21/2018

Return Location:      AS ABOVE                                              Date: 11110/2018
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      Exhibit B
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                                                                                Friday, November 2, 2018


Car of the Year Napa Valley 2018 Driver
Waivers

2018 Waivers
Name
Anatoly Borokhovich

Email
anatolyborokhovich@gmail.com

Phone Number
(323) 4045393

Address
12540 Burbank Blvd, #103
Valley Village, CA, 91607
United States

I am at least 25 years old
   Yes


My driver's license is valid with no restrictions
   Yes


Drivers License Number
D5778820

Drivers License State
California

License Expiration
Friday, July 21, 2023

                               While we will have your license info on le,

                  you must have your drivers license with you at all times while driving.

Insurer
Mercury insurance


                                                                                                           1
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Policy Number
040104004434087

Phone Number
(323) 4045393

Emergency Contact
Tatiana Borokhovich

Relation
Mother

Emergency Contact's Phone Number
(323) 4592693




                                                                             2
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By signing your name below you are agreeing to all of the terms, conditions, and stipulations laid
out in all of the following forms. Please click each link below to review each waiver you are
signing for.




                   Robb Report Car of the Year Napa Valley - Waiver & Release



                              Aston Martin Release Waiver - Test Drive

                                 Bentley Automobile Loan Agreement

                                        BMW Loan Agreement

                           Ferrari Superfast Juror Vehicle Loan Agreement

                               Ford Mustang Vehical Loan Agreement

      Lamborghini Release, Waiver-of-Liability, Assumption-of-Risk, and Indemnity Agreement

                              Mercedes-Benz Waiver and Release Form

                                       Porsche Loan Agreement

                             Rolls-Royce Release and Waiver of Liability



If you are unable to agree to the terms on any of the above forms, do not sign below. Please email
carolineb@robbreport.com detailing the form in question. Refusal to sign any for any of the
cars will result in your disquali cation to drive that particular vehicle, but will not bar you from
riding or judging the vehicle. In order to ride or participate in guest activities, the Robb Report Event
Car of the Year Napa Valley - Waiver & Release must be signed.




                                                                                                        3
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For Aston Martin, you are given the opportunity
to opt in or out of their promotional materials.
Please click below if you agree.
   Aston Martin would like to be able to
   contact you with invitations, news and
   information about products and services
   relating to Aston Martin and to be able to
   share your information with Aston
   Martin’s group companies and Authorized
   Dealers in your local region. If you would
   like to receive such invitations and
   information, please con rm that we
   may use your information as described
   and please specify which of the following
   means you prefer:

   Email          Telephone

   Lamborghini - I agree to allow the transfer
   of my personal data to third parties, as
   well as companies belonging to the
   Volkswagen-Audi Group, for the purposes
   set forth in the relevant section of the
   Lamborghini Waiver. I understand that
   Auotomobili Lamborghini of America will
   not sell my personal data to any third
   parties for marketing purposes.


Signature




                                                                              4
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                   This form will be emailed to you for your les upon submission.

                                       ______________________

For any questions or concerns, please contact Caroline Barry at carolineb@robbreport.com or call 310-
                                             589-7664.




                                                                                                        5
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      Exhibit C
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                                                                               Friday, November 2, 2018


Car of the Year Napa Valley 2018 Driver
Waivers

2018 Waivers
Name
Emil Borokhovich

Email
mikanp@yahoo.com

Phone Number
(213) 8045678

Address
5901 w Olympic blvd, Suite 103
Los Angeles , CA, 90037

I am at least 25 years old
     Yes


My driver's license is valid with no restrictions
     Yes


Drivers License Number
A7286779

Drivers License State
CA

License Expiration
Thursday, October 13, 2022

                              While we will have your license info on le,

                 you must have your drivers license with you at all times while driving.

Insurer
Mercury Casualty Ins Co.

Policy Number

                                                                                                          1
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040104004434087

Phone Number
(8005033724)

Emergency Contact
Tatiana Borokhovich

Relation
Spouse

Emergency Contact's Phone Number
(323) 459693




                                                                                2
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By signing your name below you are agreeing to all of the terms, conditions, and stipulations laid
out in all of the following forms. Please click each link below to review each waiver you are
signing for.




                   Robb Report Car of the Year Napa Valley - Waiver & Release



                              Aston Martin Release Waiver - Test Drive

                                 Bentley Automobile Loan Agreement

                                        BMW Loan Agreement

                           Ferrari Superfast Juror Vehicle Loan Agreement

                               Ford Mustang Vehical Loan Agreement

      Lamborghini Release, Waiver-of-Liability, Assumption-of-Risk, and Indemnity Agreement

                              Mercedes-Benz Waiver and Release Form

                                       Porsche Loan Agreement

                             Rolls-Royce Release and Waiver of Liability



If you are unable to agree to the terms on any of the above forms, do not sign below. Please email
carolineb@robbreport.com detailing the form in question. Refusal to sign any for any of the
cars will result in your disquali cation to drive that particular vehicle, but will not bar you from
riding or judging the vehicle. In order to ride or participate in guest activities, the Robb Report Event
Car of the Year Napa Valley - Waiver & Release must be signed.




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             Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 24 of 41

For Aston Martin, you are given the opportunity
to opt in or out of their promotional materials.
Please click below if you agree.
   Aston Martin would like to be able to
   contact you with invitations, news and
   information about products and services
   relating to Aston Martin and to be able to
   share your information with Aston
   Martin’s group companies and Authorized
   Dealers in your local region. If you would
   like to receive such invitations and
   information, please con rm that we
   may use your information as described
   and please specify which of the following
   means you prefer:

   Email          US Mail          Telephone

   Lamborghini - I agree to allow the transfer
   of my personal data to third parties, as
   well as companies belonging to the
   Volkswagen-Audi Group, for the purposes
   set forth in the relevant section of the
   Lamborghini Waiver. I understand that
   Auotomobili Lamborghini of America will
   not sell my personal data to any third
   parties for marketing purposes.


Signature




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             Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 25 of 41

                   This form will be emailed to you for your les upon submission.

                                       ______________________

For any questions or concerns, please contact Caroline Barry at carolineb@robbreport.com or call 310-
                                             589-7664.




                                                                                                        5
Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 26 of 41




      Exhibit D
                                    Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 27 of 41


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         Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 30 of 41




STATE OF CALIFORNIA
SKETCH DIAGRAM



              AlL MEASUREMENTS ARE APPROXIMATE AND NOT TO SCALE UNLESS STATED (SCALE'

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KIRK PAULSON                  013434             11/04/2018       V POMPLIANO 019659     11/07/2016
         Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 31 of 41




STATE OF CALIFORNIA
FACTUAL DIAGRAM
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DATE OF INCIDENT              TIME               NCIC NUMBER    OFFICER 1.0.        NUMBER
11/04/2018                    1440              "9325           013434             9325·2018·01207

              All MEASUREMENTS ARE APPROXIMATE AND NOTTO SCALE UNLESS STATED (SCALE=


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PREPARED BY                   I,D. NUMBER        DATE            REVIEWER'S NAME             DATE
KIRK PAULSON                  013434             11/04/2016      V POMPLIANO 019659          11/07/2018
               Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 32 of 41

     ·   ,



     STATE OF CALIFORNIA


     11/0412018                    1440          9326               013434            9325-2018"()1207


 1 LEGEND
 2 VEHICLE POINTS OF REST
 3 V-1 (left front tire) was 437 feet east of the east roadway edge of the Silverado Trail and 8' 10·
 4 north of the north roadway edge of Meadowood Lane.
 5 V-1 (left rear tire) was 443 feet east of the east roadway edge of the Silverado Trail and 1'10"
 6 north of the north roadway edge of Meadowood Lane.
 7 PHYSICAL EVIDENCE
 8       A) Damaged olive tree.
 9       B) Marks in dirt from V-1 end.
10       C) Marks in dirt from V-1 start.
11       D) Tire friction mark from V-1 end.
12       E) Tire friction mark from V-1 start.
13       F) Tire friction mark from V-1 end.
14       G) Tire friction mark from V-1 start.
15 LOCATIONS
16       A) 438 feet east ofthe east roadway edge of the Silverado Trail and 1~'4" north of the north
17           roadway edge of Meadowood Lane.
18       B) 447 feet east ofthe east roadway edge of the Silverado Trail and 2 feet north of the north
19           roadway edge of Meadowood Lane.
20       C) 459 feet east of the east roadway edge of the Silverado Trail and 10 feet north of the north
21           roadway edge of Meadowood Lane.
22       D) 466 feet east of the east roadway edge of the Silverado Trail and 1 foot south of the north
23           roadway edge of Meadowood Lane.
24       E) 486 feet east of the east roadway edge of the Silverado Trail and 4 feet south of the north
25           roadway edge of Meadowood Lane.
26       F) 519 feet east of the east roadway edge of the Silverado Trail and 6 feet south of the north
27           roadway edge of Meadowood Lane.
28       G) 552 feet east of the east roadway edge of the Silverado Trail and 9 feet south of the north
29           roadway edge of Meadowood Lane.


     PREPARED BY                   1.0. NUMBER   DATE              REViEWER'S NAME          DATE
     KIRK PAULSON                  013434        11/04/2018        V POMPLIANO 019659       11/07/2018
                   Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 33 of 41




         STATE OF CALIFORNIA
         NARRATIVE/SUPPLEMENTAL                                                        PAGE 7 OF 9
         DATE OF INCIDENT           TIME           NCICNUMBER          OFFICER 1.0.       NUMBER
         11/04/2016                 1440           9325                013434             9325-2016·01207


     1 FACTS
     2   NOTIFICATION
     3 While on routine patrol, I came upon this minor injury traffic collision at approximately 1450 hours.
     4 All speeds, times and measuremenls are approximate. All measurements were made by roll-
     5 meter.
     6
     7 SCENE DESCRIPTION
     8 Meadowood Lane, at the collision scene, is a two way asphalt surfaced roadway that runs In an
     9 east/west direction. The traffic lanes are separated by solid double yellow lines. The south side
    10 of the roadway has an asphalt shoulder followed by dirt and a row of olive trees. The north side of
    11 the roadway has an asphalt shoulder followed by dirt and olive trees (See factual diagram for
    12 further).
    13
    14 PARTIES
"   15 Party #1 (P-1/Borokhovlch) was located standing near V-1. P-1 was Identified by his California
    16 Driver's License. P-1 was determined to be the driver ofV-1 althe time of the collision by his own- . ,
    17 admission and passenger statement.
    18
    19 Vehicle #1 (V-1/Ferrari 800 Superfast) was located on the north shoulder up against an olive tree
    20 facing In a northwesterly direction. V-1 sustained major damage to its front end including its front
    21 bumper, hood, engine compartment and left front fender.
    22
    23 V-1's airbags deployed as a result of this collision. There was no complaint of seatbelt
    24 malfunction on V-1.
    25
    26 PHYSICAL EVIDENCE
    27 The physical evidence consisted of damage to V-1, tire friction marks and damage to the olive
    28 tree.
    29

         PREPARED BY                1.0. NUMBER    DATE              REVIEWER'S NAME           DATE
         KIRK PAULSON               013434         11104/2018        V POMPLIANO 019.659       11(07/2016
                Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 34 of 41

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      STATE OF CALIFORNIA
      NARRATIVE/SUPPLEMENTAL                                                           PAGE 8 OF. 9
      DATE OF INCIDENT           . TIME          NCICNUMBER           OFFICER   1.0.      .
                                                                                          !)lUMBER
      11/0412018                   1440          9325                 013434              9325-2018-01207.


  1 STATEMENTS
  2 P-1 (Borokhovlch) related In essence that he was driving westbound Meadowood Lane at
  3 approximately 25 MPH. As P-1 rounded a curve In the roadway, he observed an unknown car In
  4 his lane. P-1 swerved to the right and Into the dirt. P-110st control ofV-1 and collided Into the
  5 tree. P-1 had no description of the other vehicle.
  6
  7 Passenger (BorokhQvlch) related in essence that he was the right front passenger seat of V-1.
  8 Borokhovich related he was looking down at his phone when V-1 suddenly struck a tree.
  9
 10 Witness #1 (W-1/Perez) related In essence that he was working the front gate at the Meadowood
 11 Resort. W-1 observed P-1 drive by in V-1 and exit the resort slowly. A few seconds later, W-1
 12 heard V-1 accelerating rapidly followed by a loud crash. P-1 entered a vehicle and drove to the
 13 collision scene.:W-1 related that no other vehicles had driven past him from the time V-1 drove
 14 past him until after he arrived on scene ofthe collision.
 15
 16 OPINIONS AND CONCLUSIONS
 17 SUMMARY
 18 P-1 (Borokhovlch) was driving westbound Meadowood Lane at an undetermined speed In excess
 19 of 25 MPH. P-1 entered a right hand curve in the roadway. For unknown reasons, P-110st
 20 control of V-1 and crossed onto the north shoulder and struck an olive tree. V-1 came to rest with
 21 its front end on top of the base of the olive tree facing in a northwesterly direction on the north
 22 shoulder.
 23
 24 AREA OF IMPACT (AO!)
 25 The AOI (V-1 vs olive tree) was 438 feet east of the east roadway prolongation of the Silverado
 26 Trail and 10 feet 4 inches north of the north roadway edge of Meadowood Lane.
 27
 28
 29

      PREPARED BY                 I.D.NUMBER     DATE               REVIEWER'S NAME             DATE
      KIRK PAULSON                013434         11/04/2018         V POMPLtANO 019669          11/07/2018
                   Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 35 of 41

·   .   .   .
        STATE OF CALIFORNIA
        NARRATIVE/SUPPLEMENTAL                                                         PAGE 9 OF 9
        DATE OF iNCIDENT           TIME           NCICNUMBER           OFFICER 1.0.       NUMBER
        11/04/2018                 1440           9325                 013434             9326-2018-01207


    1 CAUSE
    2 P-1 (Borokhovich) was determined to be at fault for this collision by being in violation of section
    3 22107 VC-(unsafe turning movement).
    4 The Summary, AOI and Cause were based upon statements, vehicle damage and physical
    5 evidence.
    6
    7 RECOMMENDATIONS
    8 None                                                                                           ,-,   ,




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        PREPARED   BY              1.0. NUMBER    DATE               REVIEWER'S NAME           DATE
        KIRK PAULSON               013434         11/04/2016         V POMPLIANO 01965.9       11/07/2016
Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 36 of 41




      Exhibit E
          Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 37 of 41




~         CRUM&FORSTER'
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                                                                                NJUOOl72947KC


                           PROOF OF LOSS - AUTOMOBILE
Policy Number:          133742919                      Insured:       Ferrari north America Inc.

Type of Loss:          Collision                       Loss Date:     11/4/2018

Year:                  2018                            Make:          Ferrari

Model:                 812 Superfast                   VIN:           ZFF83CLA3J0234331


The above insured automobile at the time ofthe loss or damage belonged solely to: **FelTari North
America *', and no other person had any interest, sale contract, or otherwise.

At the time Mthis loss there was no other insurance on said automobile, except as follows: United States
Fire Insurance Company.

The said automobile at the time of the loss or damage was being operated by: •• Permissive Driver".

TIle undersigned hereby assigns and transfers to the said Company each and all claims and demands
against any other party, person persons, property or corporation, arising from or connected with such
loss and damage and the said Company is hereby subrogated in the place of and to the extent of the
amount paid by it as hereinafter provided, and the said Company is hereby authorized and empowered to
sue, compromise, or settle in my/our name or otherwise to the extent of the money paid as aforesaid.

The said loss or damage did not originated by any act, design or procurement on my/our part nor on the
part of anyone having interest in the propelty insured, or in the said policy of insurance; nor in
consequence of any fraud or evil practice done or suffered by me/us and that no property saved has in
any manner been c011cealed.

It is expressly understood and agreed that the furnishing of the "Proof of Loss" blank to the insured or
assistance in making up this statement by an adjuster or any person otherwise an agent ofthe Company
is an act of courtesy and is 1101 a waive of any rights of said Company.
            Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 38 of 41




!i ~~,~!'!I        &FORSTER'

                                                                                     Page 2
                                                                                     Claim #:NJUOOl72947KC


      Cash Value             Sales Tax        Deductible              Salvage                   Net Loss
                                               Amount

      $490,043.00            $32,465.35        $5,000.00            $225,000.00              $292,508.35**Net
                                                                                                  Loss··

The Company, is hereby authorized, requested, and empowered to pay as follows:

To:
        Ferrari North America                                     the sum of $$292,508.35

In full settlement and satisfaction for all loss and damage as set forth in the foregoing Proof of Loss.

In consideration of such payment said COinpany is hereby discharged and forever released from any and
all finther claim, demand or liability whatsoever for said loss and damage, tmder and/or by reason of
said policy.


Subscribed and sworn to before me this _--{;Ii:;::=;~:,;;;:=:;;;-_Of       fl1'/J~                               ,2019
                                               (day of the w e e k ) 9 ' I l l O l l t h and date)




    ature of Policyholder    I   v I {) ;p,Q£7lirnt1             Signature of Owner
*"'Policy Holder's Name··                                        (if different than Policy Holder)

State of:     J ielA!,,:yr see7'I
              'v

County of:         /5 l.oerJ
                                                                    /J;f~d/rck
                                                                 Signature of Notary Public J
                                                                 My Commission Expires on:


                                                                            MAAiA-~IOH"           :..
                                                                                      • \..1,....,. I.,!
                                                                              NOTARY PUBLIC
                                                                          STATE OF NEW JERSEY
                                                                      MY COMMIS~ION E~PIRE8 MARCH e, 202 I   I
Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 39 of 41




       Exhibit F
             Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 40 of 41
                                                                                                                   CA_20190517011438.TXT·2




                CRUM&FORSTER®                                                   UNlTED STATES FIRE INSURANCE CO.
                A FAIRFA.?i COMPANY




                                                                                  Monistown Claims
                                                                                  305 Madison Ave. PO Box 1973
                                                                                  Morristown NJ 07962~1973




05/17/2019
Ferrari North America, Inc
Attn: Mr.•JeffGrosshard
250 Sylvan Ave
Englewood Cliffs NJ 07632




Re:    Insnred Name:            FERRARI NORTH AMERICA, INC. FERRARI FINANCIAL SERVICES, INC.
       Claim Number:            NJUOOI72947
       Date Of Loss             11/04/2018
       Payee Name:              Ferrari North America, Inc
       Payment Amount:          $292,508.35




                                                     PAYMENT ENCLOSED

Dear Ferrari North America, Inc:
Enclosed is our check in the amount of$292,508.35 made payable to Ferral'i North America, Inc.
If you have any questions, feel free to contact me at your convenience at 877~622~6538.

Yours truly,
Kathi Clayton
           Case 3:20-cv-00127-LB Document 33 Filed 06/09/20 Page 41 of 41


 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, declare:
 3          I am employed in the City and County of San Francisco. I am over the age of eighteen (18)
     and not a party to the within cause. My business address is 750 Battery Street, Suite 700, San
 4   Francisco, California, 94111.
 5          On June 9, 2020, I served the attached document(s):
 6          SECOND AMENDED COMPLAINT FOR:
              1. Breach of Contract
 7            2. Breach of Contract
              3. Negligence
 8            4. Negligence
 9          DEMAND FOR JURY TRIAL
10   On the party(s) to this action by sending a true copy thereof, addressed as follows:
11   /X/    (BY ELECTRONIC SERVICE) The documents were served electronically via the Court’s
            CM/ECF electronic filing system.
12
            Michael D. Michel, Esq.
13          Kate Morrow, Esq.
            Michel & Fackler
14          2175 North California Boulevard, Suite 550
            Walnut Creek, California 94596
15          mandflaw@michelandfackler.net
            Attorneys for Defendant/Cross-Claimant
16          Robb Report Media, LLC and Defendant
            Robb Douglas Rice
17
            Philip A. Segal
1
18          Kern, Segal & Murray
            1388 Sutter Street, Suite 600
19          San Francisco, CA 94109
            phil@kndslaw.com
20          Attorneys for Defendants/Cross-Defendants
            Anatoly Borokhovich and Emil Borokhovich
21
             I declare under penalty of perjury, under the laws of the United States, that the foregoing is
22   true and correct. Executed on June 9, 2020, at San Francisco, California.
23

24                                                                 /s/ Joseph Ehrlich__________________
                                                                   Joseph Ehrlich
25

26
27

28


      Second Amended Complaint                                                                                41
      Case No. 3:20-cv-00127-LB
